     Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.58   Page 1 of 41




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

JOSE RAMON TENEYQUE, 240111,

        Petitioner,
                                             CASE NO. 17-13833
v.
                                             HON. DENISE PAGE HOOD
CARMEN PALMER,
                                             MAG. STEPHANIE DAWKINS
        Respondent.                          DAVIS



         ANSWER IN OPPOSITION TO PETITION FOR WRIT OF
                       HABEAS CORPUS
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18                          PageID.59       Page 2 of 41




                                   TABLE OF CONTENTS

Introduction ............................................................................................... 1

        Statements in Compliance with Habeas Rule 5(b).......................... 3

        B.      Statute of Limitations ............................................................. 3

        C.      Exhaustion .............................................................................. 3

        D.      Procedural Default .................................................................. 3

        E.      Non-retroactivity Doctrine ...................................................... 3

Statement of the Case ............................................................................... 4

        A.      Plea Facts ................................................................................ 4

        B.      Procedural History .................................................................. 6

Standard of Review Pursuant to AEDPA ................................................. 9

Argument ................................................................................................. 14

I.      Teneyuque has failed to show that his trial counsel was
        ineffective or that he has a right to withdraw his plea,
        therefore, the Michigan Court of Appeals’ denial of these
        claims was not objectively unreasonable. ...................................... 14

        C.      Clearly established federal law on pleas. ............................. 23

        D.      Analysis of the involuntary plea claim ................................. 25

II.     Teneyuque’s claims that he was sentenced based on
        inaccurate information and that counsel was ineffective for
        failing to object are meritless, thus, relief should be denied
        on them. .......................................................................................... 26

III.    Teneyuque is not entitled to an evidentiary hearing on his
        claims of ineffective assistance of counsel because they were
        adjudicated on the merits by the state appellate court.. ............... 29

Conclusion ............................................................................................... 32

                                                      i
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18                             PageID.60        Page 3 of 41




Relief ........................................................................................................ 37

Certificate of Service ............................................................................... 38




                                                       ii
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.61   Page 4 of 41




                           INTRODUCTION

      Petitioner, Jose Ramon Teneyuque, chose to drive his Chevy

Suburban under the influence of alcohol and marijuana. He was seen

driving at a high-rate of speed while swerving and failing to stay in his

lane. He overcorrected and flipped the SUV. Teneyuque and his

fourteen-year-old son survived the crash—but his daughter was not so

lucky. Her skull was fatally fractured, but she drowned in her own

blood before the brain trauma could take its toll. At the scene, police

noticed that Teneyuque reeked of alcohol and was visibly drunk.

Teneyuque pleaded “no contest” hoping that the sentencing judge would

take his role in his daughter’s death as lightly as he has. The judge

didn’t.

      As a result of his Saginaw County plea-based convictions of

operating while impaired causing death, MCL 257.625(4), operating a

motor vehicle with a high blood alcohol level, MCL 257.625(1)(c),

operating a motor vehicle with an occupant under sixteen-years-old,

MCL 257.625(7)(A)(ii), and as a third-habitual offender, MCL 769.11,

the State now holds Teneyuque in custody in the Michigan Department

of Corrections. Teneyuque is currently serving two concurrent terms of


                                     1
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.62   Page 5 of 41




fifteen-to-thirty years, and a concurrent eighty-months-to-ten-years,

respectively.

     Teneyuque commenced this action under 28 U.S.C. § 2254 by

filing a petition with this Court. The State understands the petition to

be raising the following claims:

          I.     Teneyuque has the right to withdraw his plea due to the
                 ineffective assistance of trial counsel for failing to
                 investigate defenses.

          II.    Teneyuque is entitled to resentencing because he was
                 sentenced based on inaccurate information.

          III.   Teneyuque is entitled to an evidentiary hearing because
                 the State’s denial of his motion for one is unreasonable.

     Should the Court interpret the petition to be raising different

claims, the State requests an opportunity to file a supplemental

pleading. To the extent that Teneyuque failed to raise any other claims

that he raised in the state courts, those claims are now abandoned. See

Sommer v. Davis, 317 F.3d 686, 691 (6th Cir. 2003) (holding that an

issue is abandoned if a party does not present any argument respecting

the issue in his brief). Thus, habeas review of abandoned claims is

barred.

     The State now answers the petition and requests that it be denied.



                                      2
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.63   Page 6 of 41




  STATEMENTS IN COMPLIANCE WITH HABEAS RULE 5(b)

     With respect to the bars that preclude habeas review, the State

asserts the following in conformance with Habeas Rule 5(b):


     B.    Statute of Limitations

     The State is not arguing that any of Teneyuque’s habeas claims

are barred by the statute of limitations.


     C.    Exhaustion

     The State is not arguing that consideration of any of Teneyuque’s

habeas claims is barred by the failure to exhaust a claim for which a

state court remedy exists.


     D.    Procedural Default

     The State is not arguing that consideration of any of Teneyuque’s

habeas claims is barred by an unexcused procedural default.


     E.    Non-retroactivity Doctrine

     The State is not arguing that consideration of any of Teneyuque’s

claims is barred by the non-retroactivity doctrine.




                                     3
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.64   Page 7 of 41




                     STATEMENT OF THE CASE

     A.    Plea Facts

     Immediately before the crash, Teneyuque was seen speeding and

swerving in and out of his lane. (9/4/14 Tr. at 43-46.) Once police

arrived at the scene of the crash, they noticed Teneyuque reeked of

alcohol, was slurring his speech, and was visibly drunk. (Id. at 77-78.)

And everyone’s suspicions were confirmed when two blood alcohol

content (BAC) tests revealed that his BAC was between .3 and .201.

(Id. at 91 & 110.) The .201 reading was taken several hours after the

crash. (1/23/15 Tr. at 13.)   Teneyuque also had cocaine metabolites

and marijuana in his system at the time of the crash. (9/4/14 Tr. at 91.)

     Teneyuque pleaded “no contest” in order to avoid civil liability and

so that the People would move to dismiss the second-degree murder

charge. (1/23/15 Tr. at 3.) He was informed that his advisory 1

sentencing guidelines were calculated at 50-to-150 months, but that the

court was free to exceed those guidelines. He was also told that the

maximum penalty he faced was twenty-to-thirty years in prison. (Id. at


1The trial court was bound by the guidelines unless it articulated
substantial and compelling reasons for an upward departure at the time
of sentencing, but that is no longer the case in Michigan.

                                     4
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.65   Page 8 of 41




4-5.) The prosecutor stressed to the court and to Teneyuque that the

People were seeking the maximum penalty allowed by law. (Id. at 5.)

And yet Teneyuque still knowingly and voluntarily waived his right to

trial and took the plea. (Id. at 5-10.) The court asked him, “Is it your

own choice to plead no contest?” to which he replied, “Yes.” (Id. at 10.)

Teneyuque then told the court that the preliminary exam report

supported the factual basis for his plea and each of his convictions. (Id.

at 12-13.)

     The court correctly pointed out that the BAC test was not required

to prove any of the charges except the operating with a high BAC

charge, and the parties stipulated to that fact. (Id. at 13.) One last

time, the court stressed that Teneyuque’s guideline range of 50-to-150

was an estimate and subject to change, and he again indicated that he

understood. (Id. at 17-18.) The plea was accepted. (Id. at 18.)

     The State opposes any factual assertions made by Teneyuque that

are not directly supported by—or consistent with—the state court

record, because Teneyuque has failed to overcome the presumption of

factual correctness under 28 U.S.C. § 2254(e)(1) or meet the

requirements of 28 U.S.C. § 2254(e)(2).



                                     5
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.66   Page 9 of 41




     B.    Procedural History

     Teneyuque was convicted of operating while impaired causing

death; operating a motor vehicle with a high blood alcohol level;

operating a motor vehicle with an occupant under sixteen-years-old;

and as a third-habitual offender. The trial court sentenced him to two

concurrent terms of fifteen-to-thirty years, and a concurrent eighty-

months-to-ten-years, respectively.

     Following his conviction and sentence, Teneyuque filed a delayed

application for leave to appeal in the Michigan Court of Appeals, which

raised the following claims:

     I.    The defendant has the right to withdraw his no contest pleas
           due to ineffective assistance of counsel where his trial court
           attorney failed to investigate the scientific basis behind the
           hospital blood test that erroneously reported the defendant’s
           blood alcohol content to be .30 and where his trial court
           attorney failed to investigate the reliability of the state
           police blood test results, and where his trial court did not
           advise his client of any defense before defendant pleaded no
           contest, and where defendant would not have pleaded no
           contest if he would have known that he had an expert
           witness ready, willing, and able to testify in support of a
           valid defense at trial.

     II.   The defendant has the right to be re-sentenced based upon
           accurate information, where the sentencing court imposed
           sentence by mistakenly considering erroneous information in
           the defendant’s PSIR that concluded that defendant’s blood
           alcohol content (BAC) was .30.


                                     6
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.67   Page 10 of 41




      III.   The defendant has the right to be re-sentenced due to
             ineffective assistance of counsel where his trial court
             attorney did not investigate the scientific basis behind the
             hospital blood test that erroneously reported the defendant’s
             blood alcohol content to be .30 where the prosecutor argued
             in his sentencing memorandum that defendant was at a
             .30—nearly 4 times the legal limit and where the trial court
             attorney did not object to this erroneous information in the
             defendant’s PSIR.

      IV.    The defendant has the right to be re-sentenced where the
             scoring of OV1, OV2, OV6, OV 17 and OV18 were all
             incorrect and where the prosecutor argued that defendant
             had a total of 147 OV points.

      The Michigan Court of Appeals denied Teneyuque’s application

“for lack of merit in the grounds presented.”. People v. Teneyuque, No.

331853, (Mich. Ct. App. Apr. 11, 2016, Order at 1.)

      Teneyuque subsequently filed an application for leave to appeal in

the Michigan Supreme Court which raised the same claims as in the

Michigan Court of Appeals. The Michigan Supreme Court denied the

application because it was not persuaded that the questions presented

should be reviewed by the Court. People v. Teneyuque, 887 N.W.2d 424

(Mich. 2016) (unpublished table decision).




                                     7
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.68   Page 11 of 41




      Teneyuque did not appeal to the United States Supreme Court or

seek collateral review before the trial court. Rather, he filed the instant

petition for habeas relief.




                                     8
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.69   Page 12 of 41




         STANDARD OF REVIEW PURSUANT TO AEDPA

      Teneyuque’s habeas petition is governed by the Antiterrorism and

Effective Death Penalty Act (AEDPA). AEDPA prevents a federal court

from granting habeas corpus relief based on any claim “adjudicated on

the merits” in state court, unless the petitioner can establish that the

state court adjudication:

            (1) resulted in a decision that was contrary to, or
      involved an unreasonable application of, clearly established
      Federal law as determined by the Supreme Court of the
      United States; or

           (2) resulted in a decision that was based on an
      unreasonable determination of the facts in light of the
      evidence presented in the State court proceeding.

28 U.S.C. § 2254(d).

      Under the “contrary to” clause of § 2254(d)(1), the petitioner must

establish that “the state court arrive[d] at a conclusion opposite to that

reached by [the Supreme] Court on a question of law or . . . decide[d] a

case differently than [the Supreme] Court has on a set of materially

indistinguishable facts.” Metrish v. Lancaster, 569 U.S. 351, 357 n.2

(2013) (internal quotation marks and citation omitted).




                                     9
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.70   Page 13 of 41




      Under the “unreasonable application” clause of § 2254(d)(1), the

petitioner must establish that, after “identif[ying] the correct governing

legal principle from the Supreme Court’s decisions, [the state court]

unreasonably applie[d] that principle to the facts of [his] case.” Hill v.

Curtin, 792 F.3d 670, 676 (6th Cir. 2015) (en banc) (alteration omitted).

“[T]he state court’s decision must have been more than incorrect or

erroneous[;]” rather, it must have been “so lacking in justification that

there was an error well understood and comprehended in existing law

beyond any possibility for fairminded disagreement.” Id. (quoting

Wiggins v. Smith, 539 U.S. 510, 520–21 (2003)). “[E]ven clear error will

not suffice.” White v. Woodall, 134 S. Ct. 1697, 1702 (2014). Again, the

state court’s determinations of law and fact must be “so lacking in

justification” as to give rise to error “beyond any possibility for

fairminded disagreement.” Dunn v. Madison, 138 S. Ct. 9, 12 (2017)

(per curiam) (quoting Harrington v. Richter, 562 U.S. 86, 103 (2011)).

      Moreover, not just any Supreme Court decision will do under §

2254(d)(1). “Clearly established Federal law for purposes of § 2254(d)(1)

includes only the holdings, as opposed to the dicta,” of the Supreme

Court’s decisions. Woods v. Donald, 135 S. Ct. 1372, 1376 (2015) (per



                                     10
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.71   Page 14 of 41




curiam) (internal quotations and citations omitted). Where no Supreme

Court case has confronted “the specific question presented” by the

habeas petitioner, “the state court’s decision [cannot] be contrary to any

holding from this Court.” Woods v. Donald, 135 S. Ct. at 1377 (internal

quotation marks and citation omitted). Moreover, the Supreme Court

decision must have been on the books at “the time the state court

render[ed] its decision.” Greene v. Fisher, 565 U.S. 34, 38 (2011)

(internal quotation marks and emphasis omitted); see also Cullen v.

Pinholster, 563 U.S. 170, 182 (2011) (“State-court decisions are

measured against [the Supreme] Court’s precedents as of the time the

state court renders its decision.”) (internal quotation marks omitted).

      “It is not an unreasonable application of clearly established

Federal law for a state court to decline to apply a specific legal rule that

has not been squarely established by this Court.” Richter, 562 U.S. at

101 (internal quotation marks and citation omitted). As the Supreme

Court has repeatedly pointed out, “circuit precedent does not constitute

clearly established Federal law, as determined by the Supreme Court.”

Kernan v. Cuero, 138 S. Ct. 4, 8 (2017) (per curiam) (quoting Glebe v.

Frost, 135 S. Ct. 429, 430 (2014)) (per curiam). Likewise, neither do



                                     11
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.72   Page 15 of 41




“state-court decisions, treatises, or law review articles” constitute

clearly established Federal law as determined by the Supreme Court.

Cuero, 138 S. Ct. at 8.

      And federal court of appeals precedent cannot “refine or sharpen a

general principle of Supreme Court jurisprudence into a specific legal

rule that [the Supreme] Court has not announced.” Marshall v.

Rodgers, 569 U.S. 58, 63 (2013) (per curiam) (citation omitted); see also

Lopez v. Smith, 135 S. Ct. 1, 4 (2014) (providing that absent a decision

by the Supreme Court addressing “the specific question presented by [a]

case” a federal court cannot reject a state court’s assessment of claim).

      Under § 2254(d)(2), the “unreasonable determination” subsection,

“a determination of a factual issue made by a State court shall be

presumed to be correct,” and the petitioner “shall have the burden of

rebutting the presumption of correctness by clear and convincing

evidence.” Wood v. Allen, 558 U.S. 290, 293 (2010). “[A] state-court’s

factual determination is not unreasonable merely because the federal

habeas court would have reached a different conclusion in the first

instance.” Burt v. Titlow, 571 U.S. 12, 15 (2013) (internal quotation

marks and citation omitted).



                                     12
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.73   Page 16 of 41




      Finally, Teneyuque’s burden is made even heavier by the fact that

a federal court is “limited to the record that was before the state court

that adjudicated the claim on the merits.” Pinholster, 563 U.S. at 181.




                                     13
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.74   Page 17 of 41




                              ARGUMENT

I.    Teneyuque has failed to show that his trial counsel was
      ineffective or that he has a right to withdraw his plea,
      therefore, the Michigan Court of Appeals’ denial of these
      claims was not objectively unreasonable.

      The Michigan Court of Appeals reasonably denied Teneyuque’s

delayed application for leave to appeal claiming that his guilty plea was

involuntary due to the ineffective assistance of his trial counsel.

Teneyuque ignored the trial court’s several innuendos that he was going

to receive a sentence above the guidelines for killing his daughter and

he still took the plea hoping to avoid the obvious. And now he looks to

this Court to give him a second bite at the apple merely because he

refuses to accept the consequences of his actions. Teneyuque should be

denied habeas relief because none of his federal constitutional rights

were violated.

      A.    Clearly established federal law on claims of
            ineffective assistance of trial counsel and analysis.

      A claim of ineffective assistance of counsel is governed by the

familiar standard set forth in Strickland v. Washington, 466 U.S. 668

(1984). “Surmounting Strickland’s high bar is never an easy task.”

Padilla v. Kentucky, 559 U.S. 356, 371 (2010). “Even under de novo



                                     14
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.75   Page 18 of 41




review, the standard for judging counsel’s representation is a most

deferential one.” Richter, 562 U.S. at 105.

      To establish that he received ineffective assistance of counsel, a

petitioner must show, first, that counsel’s performance was deficient

and, second, that he was prejudiced by counsel’s action or inaction.

Wilson v. Parker, 515 F.3d 682, 698 (6th Cir. 2008) (citing Strickland,

466 U.S. at 687–88). Further, “[j]udicial scrutiny of counsel’s

performance must be highly deferential. . . . Because of the difficulties

inherent in making the evaluation, a court must indulge a strong

presumption that counsel’s conduct falls within the wide range of

reasonable professional assistance.” Strickland, 466 U.S. at 689.

“Strickland . . . calls for an inquiry into the objective reasonableness of

counsel’s performance, not counsel’s subjective state of mind.” Richter,

131 S. Ct. at 790.

      A lawyer does not perform deficiently or prejudice his client by

failing to raise frivolous objections. See Harris v. United States, 204 F.3d

681, 683 (6th Cir. 2000); Strickland, 466 U.S. at 694. “Counsel cannot be

ineffective for failing to object to what was properly done.” United States

v. Sanders, 404 F.3d 980, 986 (6th Cir. 2005). “Failure to raise meritless



                                     15
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.76   Page 19 of 41




objections is not ineffective lawyering; it is the very opposite.” Clark v.

Collins, 19 F.3d 959, 966 (5th Cir. 1994). “An attorney is not required to

present a baseless defense or to create one that does not exist.” Krist v.

Foltz, 804 F.2d 944, 946 (6th Cir. 1986).

      Under Strickland, a court must presume that decisions by counsel

as to whether to call or question witnesses are matters of trial strategy.

Hutchison v. Bell, 303 F.3d 720, 749 (6th Cir. 2002). Decisions as to

what evidence to present and whether to call certain witnesses are

presumed to be a matter of trial strategy, and the failure to call

witnesses or present other evidence constitutes ineffective assistance of

counsel only when it deprives a defendant of a substantial defense. See

Chegwidden v. Kapture, 92 F. App’x 309, 311 (6th Cir. 2004); Hutchison

v. Bell, 303 F.3d 720, 749 (6th Cir. 2002).

      Further, the reviewing court is required not simply to give the

attorney the benefit of the doubt, but to affirmatively entertain the

range of possible reasons counsel may have had for proceeding as he

did. Pinholster, 131 S. Ct. at 1407. “[R]eliance on ‘the harsh light of

hindsight’ to cast doubt on a trial that took place [] years ago is




                                     16
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.77   Page 20 of 41




precisely what Strickland and AEDPA seek to prevent.” Richter, 131 S.

Ct. at 789.

      The second Strickland prong, prejudice, requires a petitioner to

show that “there is a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have been

different.” Strickland, 466 U.S. at 694. “A reasonable probability is a

probability sufficient to undermine confidence in the outcome.”

Strickland, 466 U.S. at 694. “It is not enough to show that the errors

had some conceivable effect on the outcome of the proceeding.” Richter,

131 S. Ct. at 792 (citation omitted). “The likelihood of a different result

must be substantial, not just conceivable.” Id.

      The burden is on the petitioner to establish not merely that

counsel’s errors created the possibility of prejudice, but rather “that

they worked to [his] actual and substantial disadvantage, infecting [his]

entire trial with errors of constitutional dimension.” Murray v. Carrier,

477 U.S. 478, 494 (1986), quoting United States v. Frady, 456 U.S. 152,

170 (1982). The defendant must “affirmatively prove,” not just allege,

prejudice. Strickland, 466 U.S. at 693. “Strickland’s test for prejudice

is a demanding one. ‘The likelihood of a different result must be



                                     17
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.78   Page 21 of 41




substantial, not just conceivable.’” Storey v. Vasbinder, 657 F.3d 372,

379 (6th Cir. 2011) (quoting Richter, 131 S. Ct. at 792). See further

United States v. Boone, 62 F.3d 323, 327 (10th Cir. 1995) (“[A]ll that the

Defendant urges is speculation, not a reasonable probability that the

outcome would have been different. Accordingly, he cannot establish

prejudice.”).

      To demonstrate prejudice in a case where a petitioner was

convicted after a jury or bench trial, the reviewing court must

determine, based on the totality of the evidence before the factfinder,

“whether there is a reasonable probability that, absent the errors, the

factfinder would have had a reasonable doubt respecting guilt.”

Strickland, 466 U.S. at 695. “[A] verdict or conclusion only weakly

supported by the record is more likely to have been affected by errors

than one with overwhelming record support.” Id. at 696. Because both

prongs must be satisfied to establish ineffective assistance, if a

petitioner cannot satisfy one prong, the other need not be considered.

Id. at 697.

      Additionally, on habeas review, consideration is even further

limited because this Court must give deference to both the trial counsel



                                     18
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.79   Page 22 of 41




and the state appellate court reviewing their performance. The

Supreme Court has stressed that the “standards created by Strickland

and § 2254(d) are both ‘highly deferential,’ and when the two apply in

tandem, review is ‘doubly’ so.” Richter, 131 S. Ct. at 788 (citations

omitted). Thus, a state prisoner seeking a federal writ of habeas corpus

on the ground that he was denied effective assistance of counsel “must

do more than show that he would have satisfied Strickland’s test if his

claim were being analyzed in the first instance.” Bell v. Cone, 535 U.S.

685, 698–99 (2002); Durr v. Mitchell, 487 F.3d 423, 435 (6th Cir. 2007).

On habeas review, the question “is not whether a federal court believes

the state court’s determination under the Strickland standard was

incorrect but whether that determination was unreasonable—a

substantially higher threshold.” Knowles v. Mirzayance, 556 U.S. 111,

123 (quoting Schriro v. Landrigan, 550 U.S. 465, 473) (internal

quotation marks omitted). “And, because the Strickland standard is a

general standard, a state court has even more latitude to reasonably

determine that a defendant has not satisfied that standard.”

Mirzayance, 556 U.S. at 123.




                                     19
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.80   Page 23 of 41




      And ineffective assistance of trial counsel claims that do not

challenge the voluntary or intelligent nature of a defendant’s plea are

considered non-jurisdictional defects that are waived by a plea. See

United States v. Stiger, 20 F. App’x 307, 309 (6th Cir. 2001) (a claim

that counsel was ineffective for failing to raise an insanity defense is

waived by a voluntary guilty plea.) An unconditional plea constitutes a

waiver of all pre-plea non-jurisdictional constitutional challenges.

Tollett v. Henderson, 411 U.S. 258, 267 (1973) (“[A] guilty plea

represents a break in the chain of events which has preceded it in the

criminal process. When a criminal defendant has solemnly admitted in

open court that he is in fact guilty of the offense with which he is

charged, he may not thereafter raise independent claims relating to the

deprivation of constitutional rights that occurred prior to the entry of

the guilty plea. He may only attack the voluntary and intelligent

character of the guilty plea by showing that the advice he received from

counsel was not within [constitutional standards].”); accord United

States v. Broce, 488 U.S. 563, 569 (1989). A guilty plea also acts as a

waiver of any challenge to the voluntariness of his confession under the

Due Process Clause or Miranda. See United States v. Wright, 873 F.2d



                                     20
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.81   Page 24 of 41




437, 442 (1st Cir. 1989); Rogers v. Maggio, 714 F.2d 35, 38 (5th Cir.

1983); United States v. Montoya-Robles, 935 F. Supp. 1196, 1204 n.5 (D.

Utah 1996). Claims of pre-plea ineffective assistance not relating to the

acceptance of the plea are waived under the same Tollett rule. United

States v. Stiger, 20 F. App’x 307, 309 (6th Cir. 2001).

      A no-contest plea invokes the same waiver principles as a guilty

plea. See Post v. Bradshaw, 621 F.3d 406, 426–27 (6th Cir. 2010);

United States v. Freed, 688 F.2d 24, 25 (6th Cir. 1982); accord Gomez v.

Berge, 434 F.3d 940, 942 (7th Cir. 2006).

      While a voluntary plea generally waives claims of ineffective

assistance of counsel, it does not do so insofar as the ineffectiveness is

alleged to have rendered the plea involuntary. See United States v.

Glinsey, 209 F.3d 386, 392 (5th Cir. 2000) and Claybron v. Stovall, 2007

WL 551599, at *6 (E.D. Mich. 2007) (“[A] voluntary guilty plea waives

all claims of ineffective assistance of counsel, except insofar as the

ineffectiveness is alleged to have rendered the guilty plea

involuntary.”). Criticism of counsel’s conduct during the pre-plea period

are foreclosed by a plea.




                                     21
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.82   Page 25 of 41




      B.    Analysis of the ineffective assistance of counsel claim

      In this case, Teneyuque pleaded “no contest” and, thus, waived his

claims of ineffective assistance of counsel except as it relates to the

voluntariness of his plea. Tollett v. Henderson, 411 U.S. 258, 267

(1973). To the extent the claim involves the voluntariness of the plea,

Teneyuque has not satisfied Strickland because trial counsel was not

constitutionally deficient. Trial counsel saw the writing on the wall:

The state did not need BAC to convict Teneyuque of (1) operating while

impaired causing death; (2) operating a motor vehicle with an occupant

under sixteen-years-old; and (3) as a third-habitual offender. As the

trial court pointed out and Teneyuque verified, (1/23/15 Tr. at 12-13.),

eyewitness testimony confirmed that he was operating while under the

influence of alcohol, other testing confirmed marijuana and remnants of

cocaine in his system at the time of the crash—and his daughter died as

a result. (9/4/14 Tr. at 43-46, 77-78, & 91.) His fourteen-year-old son

testified to being in the car at the time of the wreck. (Id. at 21-22.)

      Even assuming, for argument sake, that trial counsel found an

expert to testify that both BAC tests were flawed, which could only

possibly speak to the operating a motor-vehicle with a high blood



                                     22
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.83   Page 26 of 41




alcohol content, it was not a substantial defense. See Chegwidden v.

Kapture, 92 F. App’x 309, 311 (6th Cir. 2004); Hutchison v. Bell, 303

F.3d 720, 749 (6th Cir. 2002). It would have come down to nothing

more than a credibility determination between experts at trial, and

such questions do not evoke “a reasonable . . . probability [of a different

result] sufficient to undermine confidence in the outcome.” Strickland,

466 U.S. at 694. In other words, we can be confident based on the

evidence that all of the elements of all of the crimes would have been

satisfied at a trial including the high BAC because the state would have

presented its BAC results to the jury in conjunction with the other

evidence. Teneyuque’s trial counsel recognized as much and, exercising

sound strategy, he urged a plea hoping for the best possible outcome.

Thus, counsel was effective.


      C.    Clearly established federal law on pleas.

      A plea must be voluntarily and knowingly made in order to satisfy

the dictates of due process. Hart v. Marion Corr. Inst., 927 F.2d 256,

257 (6th Cir. 1991); King v. Dutton, 17 F.3d 151, 153 (6th Cir. 1994)

(citing Boykin v. Alabama, 395 U.S. 238 (1969)). The defendant must

be aware of the “relevant circumstances and likely consequences.”


                                     23
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.84   Page 27 of 41




Hart, supra; King, supra. In general, this means that he must be aware

of the maximum sentence that may be imposed. King, 17 F.3d at 154.

Further, the “agents of the State may not produce a plea by actual or

threatened physical harm or by mental coercion overbearing the will of

the defendant.” Brady v. United States, 397 U.S. 742, 750 (1970). In

other words, “[a] guilty plea, if induced by promises or threats which

deprive it of the character of a voluntary act, is void.” Machibroda v.

United States, 368 U.S. 487, 493 (1962).

      When a state defendant brings a federal habeas petition

challenging the voluntariness of his plea, the state generally satisfies

its burden of showing the plea was voluntary by producing a written

transcript of the state court proceeding. Garcia v. Johnson, 991 F.2d

324, 326 (6th Cir. 1993). Where the transcript is adequate to show that

the plea was voluntary and intelligent, a presumption of correctness

attaches to the state court findings of fact and to the judgment itself.

Id. at 326-27. A satisfactory state-court transcript containing findings,

after a proper colloquy, places upon the petitioner a “heavy burden” to

overturn the state findings. Id. at 328. The Sixth Circuit has held “that

where the [trial] court has scrupulously followed the required



                                     24
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.85   Page 28 of 41




procedure, ‘the defendant is bound by his statements in response to that

court’s inquiry.’” Baker v. United States, 781 F.2d 85, 90 (6th Cir. 1986)

(quoting Moore v. Estelle, 526 F.2d 690, 696-97 (5th Cir. 1976)).

      Further, “‘it is well-settled that post-sentencing ‘buyer’s remorse’

is not a valid basis on which to dissolve a plea agreement and the fact

that a defendant finds himself faced with a stiffer sentence than he had

anticipated is not a fair and just reason for abandoning a guilty plea.’”

Meek v. Bergh, 526 F. App’x 530, 536 (6th Cir. 2013) (quoting Moreno-

Espada v. United States, 666 F.3d 60, 67 (1st Cir. 2012) & citing United

States v. Wilson, 351 F. App’x 94, 96 (6th Cir. Nov. 5, 2009)).


      D.    Analysis of the involuntary plea claim

      Here, Teneyuque identifies no basis for any belief that his plea

was anything but knowing and voluntary. Rather, it is a textbook case

of “buyer’s remorse” and Teneyuque’s dissatisfaction with his sentence

is not grounds for habeas relief. Id. In fact, the trial court went

through great pains to ensure Teneyuque knew exactly what he was

doing. (1/23/15 Tr. at 3-19.) As Teneyuque has identified no basis for

relief, his claim that the plea was not knowing and voluntary is without

merit and the state appellate court reasonably denied it.


                                     25
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.86   Page 29 of 41




      In short, Claim I does not warrant relief, thus, it should be denied.


II.   Teneyuque’s claims that he was sentenced based on
      inaccurate information and that counsel was ineffective
      for failing to object are meritless, thus, relief should be
      denied on them.

      Teneyuque next argues that he was sentenced based on inaccurate

information and that his trial counsel was ineffective for failing to

mount meritless objections. He also asserts that—minus his plea of “no

contest”—he has “maintained his actual innocence throughout the

proceedings.” (Pg. ID# 47.) Teneyuque also hasn’t a leg to stand on

with regard to his attack on the validity of either of the BAC tests done

after the wreck but, nevertheless, he argues that his BAC was actually

as low as .182 in the second test that was taken hours after the crash.

(Pg. ID# 46.) Okay. Relief should be denied.

      A.    Clearly established federal law on sentencing on
            inaccurate information.
      “It is undisputed that convicted defendants . . . have a due process

right to a fair sentencing procedure.” United States v. Anders, 899 F.2d

570, 575 (6th Cir. 1990). In passing sentence, a court should be

provided as much accurate information as possible in order to render an

appropriate sentence. Due process requires that a defendant be



                                     26
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.87   Page 30 of 41




afforded an opportunity to refute information relied upon by the

sentencing judge, if such information can be shown to have been

materially false. Collins v. Buchkoe, 493 F.2d 343 (6th Cir. 1974).

      The clearly established federal law concerning claims of ineffective

assistance of counsel is discussed, supra.

      B.    Analysis

      Teneyuque cannot show that any of the information in the PSIR is

false, let alone material. Yet he urges this Court to consider the BAC

tests in a vacuum and to arbitrarily accept his premise that the test

results were erroneous—all while ignoring the many other reasons as to

why the trial court rendered the sentence it did.

      The trial court noted that Teneyuque refused to conform to

societal norms and to obey the law. (3/10/15 Tr. at 69.) It further

addressed his inconsistent statements up until the day of sentencing

and his apparent refusal to accept responsibility for killing his

daughter. (Id. at 67.) The fact that he tried to flee the scene of the

crash and the danger Teneyuque poses to society. (Id.) And the trial

court also stressed that the guidelines in his case did not account for the

totality of Teneyuque’s crimes and circumstances. (Id. at 69-69.) In



                                     27
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.88   Page 31 of 41




other words, the trial court listed substantial and compelling reasons as

to why Teneyuque received the sentence that he did, and even if he

could show the BAC tests to be “inaccurate” it would be immaterial

because it would not have changed the sentence. He has not, and

cannot meet his burden. Collins v. Buchkoe, 493 F.2d 343 (6th Cir.

1974).

      Moreover, Teneyuque’s trial counsel was not ineffective for failing

to mount meaningless objections. In fact, trial counsel made several

objections to the facts contained in the PSIR throughout the sentencing

hearing and he also filed a sentencing memorandum arguing

Teneyuque’s position. (3/10/15 Tr. at 4-34 & 37.) No material or

meaningful purpose existed to compel trial counsel to object to the BAC

test results and, thus, trial counsel was not ineffective for choosing not

to do so. Krist v. Foltz, 804 F.2d 944, 946 (6th Cir. 1986).

      Relief for claim II should be denied.




                                     28
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.89   Page 32 of 41




III. Teneyuque is not entitled to an evidentiary hearing on his
     claims of ineffective assistance of counsel because they
     were adjudicated on the merits by the state appellate
     court.

      Teneyuque argues that he is entitled to an evidentiary hearing to

further develop his waived claim of ineffective assistance of counsel. He

is not.

      Federal habeas review under 28 U.S.C. § 2254(d) is “limited to the

record that was before the state court that adjudicated the claim on the

merits.” Cullen v. Pinholster, 563 U.S. 170, 179 (2011). “[R]eview under

§ 2254(d)(1) focuses on what a state court knew and did.” Id. at 182.

The Court reasoned that “[i]t would be strange to ask federal courts to

analyze whether a state court’s adjudication resulted in a decision that

unreasonably applied federal law to facts not before the state court.”

Pinholster, 563 U.S. at 182–83. As stated by the Sixth Circuit, “federal

courts are prohibited from conducting evidentiary hearings to

supplement existing state court records when a state court has issued a

decision on the merits with respect to the claim at issue.” Ballinger v.

Prelesnik, 709 F.3d 558, 561 (6th Cir. 2013). Indeed, the Ballinger

Court further stated: “While allowing a petitioner to supplement an

otherwise sparse trial court record may be appealing, especially where


                                     29
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.90   Page 33 of 41




he diligently sought to do so in state court, the plain language of

Pinholster and Harrington precludes it.” See further Donaldson v.

Booker, 505 F. App’x 488, 493 (6th Cir. 2012) (rejecting argument that

Pinholster does not apply in cases where “petitioner requested an

evidentiary hearing in state court and was thereby not at fault for

failure to develop the factual record in state court”).

      In Werth v. Bell, 692 F.3d 486, 492-94 (6th Cir. 2012), the Sixth

Circuit held that under Harrington, a Michigan Court of Appeals’ order

denying relief “for lack of merit in the grounds presented” was

presumed to be an adjudication on the merits, and thus “AEDPA

deference applies . . . absent some ‘indication or [Michigan] procedural

principle to the contrary.’” See also Nali v. Phillips, 681 F.3d 837, 851–

53 (6th Cir. 2012) (Michigan Court of Appeals denial of motion to

remand “for [petitioner’s] failure to persuade the Court of the need to

remand” the case at that time constituted adjudicated on the merits of

Petitioner’s claim).

      Here, the Michigan Court of Appeals denied Teneyuque’s delayed

application for leave to appeal “for lack of merit in the grounds

presented.” People v. Teneyuque, No. 331853, (Mich. Ct. App. Apr. 11,



                                     30
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.91   Page 34 of 41




2016, Order at 1.) This was an adjudication on the merits. Werth v.

Bell, 692 F.3d 486, 492-94 (6th Cir. 2012). And this Court is not

permitted to supplement the existing state court record by ordering an

evidentiary hearing. Ballinger v. Prelesnik, 709 F.3d 558, 561 (6th Cir.

2013).

      Accordingly, claim III should be denied.




                                     31
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.92   Page 35 of 41




                             CONCLUSION

      The state courts’ rejection of Teneyuque’s claims did not result in

decisions that were contrary to federal law, unreasonable applications

of federal law, or unreasonable determinations of the facts. Teneyuque

was “entitled to a fair trial but not a perfect one.” Delaware v. Van

Arsdall, 475 U.S. 673, 681 (1986); see also United States v. Hasting, 461

U.S. 499, 508–w09 (1983) (“[T]here can be no such thing as an error-

free, perfect trial” and the Constitution “does not guarantee such a

trial.”) The state-court decisions in this case were not “so lacking in

justification” that they resulted in “an error well understood and

comprehended in existing law beyond any possibility for fairminded

disagreement.” Richter, 562 U.S. at 103. The formidable threshold for

granting habeas relief has not been met because fairminded jurists

could disagree on the correctness of the state court’s decision.

Yarborough, 541 U.S. at 664. Consequently, habeas relief should be

denied.

      Additionally, the State opposes any requests for bond, oral

argument, or any other relief, including a certificate of appealability.




                                     32
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18    PageID.93   Page 36 of 41




      The State also contends that Teneyuque has not demonstrated

entitlement to discovery. Unlike typical civil litigants, “[h]abeas

petitioners have no right to automatic discovery.” Johnson v. Mitchell,

585 F.3d 923, 934 (6th Cir. 2009) (quoting Stanford v. Parker, 266 F.3d

442, 460 (6th Cir. 2001)). Rule 6(a) permits district courts to authorize

discovery in habeas corpus proceedings under the Federal Rules of Civil

Procedure only “for good cause.” R. Governing 2254 Cases in the U.S.

Dist. Cts. 6(a). “Rule 6 embodies the principle that a court must provide

discovery in a habeas proceeding only ‘where specific allegations before

the court show reason to believe that the petitioner may, if the facts are

fully developed, be able to demonstrate that he is . . . entitled to relief.’ ”

Williams v. Bagley, 380 F.3d 932, 974 (6th Cir. 2004) (quoting Bracy v.

Gramley, 520 U.S. 899, 908–09 (1997)). “Rule 6 does not ‘sanction

fishing expeditions based on a petitioner’s conclusory allegations.’ ”

Williams, 380 F.3d at 974 (quoting Rector v. Johnson, 120 F.3d 551, 562

(5th Cir. 1997)); Habeas Rule 6(a). “Conclusory allegations are not

enough to warrant discovery under Rule 6; the petitioner must set forth

specific allegations of fact.” Williams, 380 F.3d at 974 (internal




                                      33
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.94   Page 37 of 41




quotation marks and citation omitted). Teneyuque has not met this

burden.

      If this Court denies the petition, the State asserts that Teneyuque

is also not entitled to a certificate of appealability (COA) so as to

proceed further. In order to obtain a COA, a petitioner must make “a

substantial showing of the denial of a constitutional right.” 28 U.S.C. §

2253(c)(2). To demonstrate this denial, the petitioner is required to

show that reasonable jurists could debate whether, or agree that, the

petition should have been resolved in a different manner, or that the

issues presented were adequate to deserve encouragement to proceed

further. Slack v. McDaniel, 529 U.S. 473, 483–84 (2000); see also

Miller-El v. Cockrell, 537 U.S. 322, 336 (2003) (“Under the controlling

standard, a petitioner must ‘sho[w] that reasonable jurists could debate

whether (or, for that matter, agree that) the petition should have been

resolved in a different manner or that the issues presented were

adequate to deserve encouragement to proceed further.”) (citations

omitted).

      When a district court rejects a habeas petitioner’s constitutional

claims on the merits, the petitioner must demonstrate that reasonable



                                     34
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.95   Page 38 of 41




jurists would find the district court’s assessment of the constitutional

claims to be debatable or wrong. Slack, 529 U.S. at 483–84, see also

Dufresne v. Palmer, 876 F.3d 248, 254 (6th Cir. 2017) (“To meet Slack’s

standard, it is not enough for a petitioner to allege claims that are

arguably constitutional; those claims must also be arguably valid or

meritorious.”)

      Likewise, when a district court denies a habeas petition on

procedural grounds without reaching the petitioner’s underlying

constitutional claims, a COA should issue, and an appeal of the district

court’s order may be taken, if the petitioner shows that jurists of reason

would find it debatable whether the petitioner states a valid claim of

the denial of a constitutional right, and that jurists of reason would find

it debatable whether the district court was correct in its procedural

ruling. Slack, 529 U.S. at 484.

      When a plain procedural bar is present, and the district court is

correct to invoke it to dispose of the case, a reasonable jurist could not

conclude either that the district court erred in dismissing the petition or

that the petition should be allowed to proceed further. In such a




                                     35
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.96   Page 39 of 41




circumstance, no appeal would be warranted. Id., see also Dufresne, 876

F.3d at 254.

      “At the end of the day, ‘the gate keeping functions of certificates of

appealability [is to] separate the constitutional claims that merit the

close attention of . . . this court from those claims that have little or no

viability.’ ” Dufresne, 876 F.3d at 254 (quoting Porterfield v. Bell, 258

F.3d 484, 487 (6th Cir. 2001)). Here, this Court should deny Teneyuque

a COA on all of his claims. The claims simply “have little or no

viability.”




                                     36
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18       PageID.97   Page 40 of 41




                                        RELIEF

        For the reasons stated above, this Court should deny the petition.

The Court should also deny Teneyuque any requested discovery,

evidentiary hearings, bond, oral argument, and any other relief he

seeks in this action, including a certificate of appealability.

                                               Respectfully submitted,

                                               Bill Schuette
                                               Attorney General

                                               s/Garett L. Koger

                                               Assistant Attorney General
                                               Criminal Appellate Division
                                               P.O. Box 30217
                                               Lansing, MI 48909
                                               (517) 373-4875
                                               Kogerg@michigan.gov
                                               P82115

Dated: May 11, 2018
2017-0204101-A Teneyuque, Jose/Answer




                                          37
Case 2:17-cv-13833-DPH-SDD ECF No. 7 filed 05/11/18   PageID.98   Page 41 of 41




                     CERTIFICATE OF SERVICE

      I hereby certify that on May 11, 2018, I electronically filed the

foregoing papers with the Clerk of the Court using the ECF system

which will send notification of such filing to the following:

      HONORABLE DENISE PAGE HOOD
      MAGISTRATE JUDGE STEPHANIE DAWKINS DAVIS
      MITCHELL T. FOSTER, ATTORNEY FOR PETITIONER



                                          Respectfully submitted,

                                          Bill Schuette
                                          Attorney General

                                          s/Garett L. Koger

                                          Assistant Attorney General
                                          Criminal Appellate Division
                                          P.O. Box 30217
                                          Lansing, MI 48909
                                          (517) 373-4875
                                          Kogerg@michigan.gov
                                          P82115




                                     38
